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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA,

 v.                                                          Case No. 1:21-cr-292-RCL

 CHIRSTOPHER WORRELL,

        Defendant.


                                             ORDER

       Upon receipt of the parties' Notice of Update on Defendant's Medical Status, the

undersigned contacted Acting United States Marshal Lamont Ruffin to inquire about the notation

that "the surgery for [Mr. Worrell's finger fracture] is still in the process of approval by the U.S.

Marshals." ECF No. 101 at 1.

       The Marshal explained that despite repeated requests from the U.S. Marshals Service

("USMS") Medical Branch, the D.C. Department of Corrections has not provided the actual

narrative specialist notes from orthopedic hand specialist Dr. Wilson, who evaluated Mr. Worrell

and is recommending proceeding with surgical repair. Accordingly, it is hereby

       ORDERED that the D.C. Jail and D.C. Department of Corrections submit this information

to the USMS FORTHWITH.

       ORDERED that the D.C. Jail and D.C. Department of Corrections are to resubmit the

Electronic ·Prisoner Medical Request with all appropriate · and requested information

FORTHWITH.

       ORDERED that the United States ensure that a copy of this order is provided

FORTHWITH to the Warden of the D.C. Jail and Director the D.C. Department of Corrections.




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       ORDERED that the United States file FORTHWITH with this Court a copy of anything

provided by the Department of Corrections to the USMS .

       IT IS SO ORDERED.


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 Date: - - - -- - - -                                      Royce C. Lamberth
                                                           United States District Judge




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